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                                                                               2019 Oct-21 PM 03:23
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

PAPE TAMBA,                          )
                                     )
           Plaintiff,                )
                                     )
                                     )            CIVIL ACTION NO.:
     vs.                             )            2:18-cv-00392-KOB

PUBLIX SUPER MARKETS,                )
INC.,                                )
                                     )
           Defendant.                )



                        AMENDED NOTICE OF APPEAL


     Pape Tamba appeals the memorandum opinion, dismissal of his claims and

Final Order against Publix (Doc. 42, 43(now vacated), 45, 51) and the judgment in

favor of Publix on their counter-claim and Final Order (Doc. 42, 44, 45, 51) in the

above styled case to the United States Court of Appeals For The Eleventh Circuit.




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                                          Respectfully Submitted,

                                          /s/ Lee D. Winston
                                            Lee D. Winston
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                                            Tamba

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